                                                                    (SPACE BELOW FOR FILING STAMP ONLY)
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 1        ROGER T. NUTTALL #42500
           NUTTALL & COLEMAN
 2               2445 Capitol Street, Suite 150
                     FRESNO, CA 93721
 3                  PHONE (559) 233-2900
                     FAX (559) 233-6947
 4
 5                 Defendant
       ATTORNEYS FOR
           JASDEV SINGH
 6
 7
 8                                  UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
10                                                * * * * * * * *
11   UNITED STATES OF AMERICA,                            Case No.: 1:08-CR-000212 OWW
12                                     Plaintiff,
13         vs.                                             ASSOCIATION OF ATTORNEYS AND
                                                                   ORDER THEREON
14   JASDEV SINGH,
15                                     Defendant.
16
17        Defendant, JASDEV SINGH, hereby requests leave of court to
18   associate ROGER T. NUTTALL of the Law Offices of NUTTALL &
19   COLEMAN with attorney STEPHEN QUADE.
20        DATED: May 17, 2010.
21
                                                        /s/Jasdev Singh
22                                                         JASDEV SINGH
23   I CONCUR WITH SAID ASSOCIATION.
24        DATED: May 17, 2010.
25
                                                        /s/Stephen Quade
26                                                          STEPHEN QUADE
                                                        Federal Defender’s Office
27
28
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 1   I AGREE TO THE ABOVE ASSOCIATION.
 2        DATED: May 17, 2010.
 3
                                       NUTTALL & COLEMAN
 4
 5                                     /s/ Roger T. Nuttall
                                       ROGER T. NUTTALL
 6
 7                                   *********
 8                                   O R D E R
 9
          Good cause appearing,
10
                IT IS HEREBY ORDERED that ROGER T. NUTTALL of the Law
11
     Offices of NUTTALL & COLEMAN, is hereby associated as attorney of
12
     record in this matter with attorney STEPHAN QUADE, who is the
13
     attorney of record for Defendant, JASDEV SINGH.
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     IT IS SO ORDERED.
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     Dated: May 19, 2010                    /s/ Oliver W. Wanger
20   emm0d6                            UNITED STATES DISTRICT JUDGE
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